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                                      UNITED STATES DISTRICT COURT
                                          DISTRICT OF MINNESOTA
                                      Criminal No. 20-CR-147 (PAM/LIB)


UNITED STATES OF AMERICA,

                         Plaintiff,
                                                         DEFENDANT’S PRETRIAL MOTION
                                                         FOR GOVERNMENT AGENTS TO
Vs.                                                      RETAIN ROUGH NOTES


Augustus Quintrell Light,

                         Defendant.



       The Defendant, Augustus Light, hereby moves the Court, pursuant to Title 18, United
States Code, Section 3500 and Brady v. Maryland, 375 U.S. 83 (1963), moves the court for an
order requiring any law enforcement agent, including any confidential reliable informants, to
retain and preserve all rough notes taken as a part of their investigation, whether or not the
contents of such rough notes are incorporated in official records, on the following grounds:


       1. Rough notes are considered statements within the meaning of Title 18, United States
              Code, Section 3500(e)(1); United States v. Bernard, 607 F.2d 1257 (9th Cir. 1979);
              United States v. Gaston, 608 F.2d 607 (5th Cir. 1979);
       2. Destruction of rough notes by law enforcement officials usurps the judicial function
              of determining what evidence must be produced. United States v. Harris, 543 F.2d
              1247 (9th Cir. 1976);
       3. The rough notes may contain facts favorable to the defense.


       This motion is based on the indictment, the records and proceedings herein, such
testimony as may be presented at the motion, and any briefing which the court may require
thereafter.
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Dated: September 7, 2020           Respectfully submitted,

                                   __/s/Catherine Turner_______
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